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 8
                                 UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
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11                                                   Case No.: 22-cv-03794-BLF
      GARY FREUND and WAYNE
12    MCMATH, individually and on behalf of          FIRST AMENDED CLASS ACTION
      all others similarly situated,                 COMPLAINT FOR:
13
                           Plaintiffs,
                                                        1. Fraudulent Omission;
14     v.                                               2. Violation of Cal. Civ. Code §§ 1750, et
15                                                         seq.;
      HP, INC. d/b/a HP COMPUTING AND                   3. Violation of Cal. Bus. & Prof. Code §§
16    PRINTING INC., a Delaware Corporation,               17200, et seq.;
                                                        4. Violation of Cal. Bus. & Prof. Code §§
17                          Defendants.                    17500, et seq.;
                                                        5. Violations of Minnesota’s Deceptive
18
                                                           Trade Practices Act, Minn. Stat. §
19                                                         325D.44, et seq.;
                                                        6. Violations of Minnesota’s False
20                                                         Advertising Law, Minn. Stat. §
                                                           325F.67, et seq.;
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                                                     JURY TRIAL DEMANDED
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 1           Plaintiffs Gary Freund and Wayne McMath, individually and on behalf of all others

 2   similarly situated (“Plaintiffs”), by and through undersigned counsel, bring this class action

 3   lawsuit against Defendant HP, Inc. d/b/a HP Computing and Printing Inc. (“HP” or “Defendant”).

 4   Plaintiffs allege the following upon information and belief based on the investigation of counsel,

 5   except as to those allegations that specifically pertain to Plaintiffs, which are alleged upon

 6   personal knowledge.

 7                                            INTRODUCTION

 8           1.       Printer ink—which can exceed $80 an ounce—is more expensive than many
 9   cherished luxury items including silver, caviar and champagne. See Lamont Wood, Printer Ink:
10   Tired of Feeding the Cash Cow? InkJet refills typically cost significantly more than the printer
11   itself, COMPUTERWORLD, (Mar. 28, 2012), available at https://www.computerworld.com
12   /article/2503134/printer-ink--tired-of-feeding-the-cash-cow-.html (last visited Dec. 6, 2021).

13           2.       The not-so-hidden secret in the retail printer industry is that manufacturers like

14   HP are very willing to lose money on the sale of printers in order to force consumers to purchase

15   incredibly over-priced ink cartridges in perpetuity. For instance, a consumer can purchase an

16   HP Envy 4520 All-in-One printer that costs HP roughly $120 to build for around $70 at various

17   retailers.    See Tercius Bufete, Why is Printer Ink So Expensive?, CONSUMER REPORTS

18   (September 15, 2018), available at https://www.consumerreports.org/printers/why-is-printer-

19   ink-so-expensive-a2101590645/ (last visited Dec. 6, 2021); see also https://www.yoyoink.com

20   /articles/why-is-printer-ink-expensive/ (last visited Dec. 6, 2021). Akin to the razor and blade

21   business model, consumers are incented to purchase inkjet printers with extremely low purchase

22   prices provided that those “loss leader” purchases will lead to billions of dollars in ink sales.

23           3.       The loss leader approach is particularly acute with all-in-one printers. According

24   to HP, an All-in-One printer—also known as a Multi-Functional Printer—is a device which

25   combines the capabilities of several separate devices into one machine, specifically, printing,

26   scanning, copying and (depending on the model) faxing. See https://www.hp.com/us-en/shop

27   /tech-takes/best-all-in-one-printers (last visited Dec. 3, 2021).

28           4.       On its website, HP boldly proclaims that “these [All-in-One] printers are
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 1   convenient because you don’t have to buy a separate device for each task.”               Id.   HP’s

 2   representations regarding the capability and functionality of its All-in-One Printers is not limited

 3   to those on its website; rather, throughout its marketing and advertising, including on the product

 4   packaging for its All-in-One Printers, HP claims that the All-in-One Printers are multifunction,

 5   “all-in-one”devices that can print, copy, scan and in some cases, fax documents.

 6          5.      What HP fails to disclose is that, if even one of the ink cartridges is too low,

 7   empty, or damaged, the scanning function on the “all-in-one” printer will be disabled and will

 8   not work as advertised. None of HP’s advertising or marketing materials disclose the basic fact
 9   that its All-in-One Printers do not scan documents when the devices have low or empty ink
10   cartridges.
11          6.      It is well-documented that ink is not required in order to scan or to fax a document,
12   and it is certainly possible to manufacture an All-in-One printer that scans or faxes when the
13   device is out of ink. Indeed, HP designs its All-in-One printer products so they will not work
14   without ink. Yet, HP does not disclose this fact to consumers.
15          7.      As a result of HP’s omissions, consumers are forced to incur unexpected and
16   unnecessary burden and expense in the form of ink purchases or be unable to scan or to fax
17   documents despite the fact that ink is not used to accomplish those tasks. Even were it technically
18   possible to scan a document without all ink cartridges present, HP does not disclose any

19   “workaround” to consumers in any of the product packaging nor in any of HP’s advertising and

20   marketing materials regarding its multi-function devices. Accordingly, purchasers of HP All-

21   in-One Printers have been harmed as a result of its omissions.

22          8.      HP’s intent is clear, namely, to have their multi-function devices revert to an

23   inoperable “error state” so that a large subset of those multi-function device purchasers will

24   purchase additional overpriced and unnecessary ink cartridges in order to be able to scan and to

25   fax documents. The end goal is to increase the sales of one HP’s largest profit makers, ink

26   cartridges, by any and all means.

27          9.      Plaintiffs bring this class action lawsuit because HP has intentionally manipulated

28   the functionality of its “All-in-One” Printers in order to impermissibly increase the number of
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 1   ink cartridges purchased by the unsuspecting public. In addition to monetary damages, Plaintiffs

 2   seek, individually and on behalf of all those similarly situated, injunctive reliefrequiring HP to

 3   immediately cease its misleading advertising and marketing campaign and to engage in a

 4   corrective campaign to inform consumers of the misleading advertising.

 5                                            THE PARTIES

 6          10.       Plaintiff Gary Freund is and has been at all relevant times a resident of San

 7   Francisco, California.

 8          11.       Plaintiff Wayne McMath is and has been at all relevant times a resident of
 9   Minneapolis, Minnesota.
10          12.       Defendant HP is a global Fortune 500 company and one of the world’s largest
11   manufacturers and sellers of computers.
12          13.       HP is incorporated in the State of Delaware and its principal place of business is
13   located at 1501 Page Mill Road in Palo Alto, California 94304.
14          14.       Defendant HP utilizes the website https://www.hp.com/us-en/home.html and its
15   related webpages (collectively, the “HP Site”), as well as third party resellers, to market and to
16   sell personal computers, printers and related products directly to consumers throughout the
17   United States.
18                                     JURISDICTION AND VENUE

19          15.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)

20   because there are more than 100 Class members, the aggregate amount in controversy exceeds

21   $5,000,000.00, exclusive of interest, fees and costs and at least one Class member is a citizen of

22   a state different from at least one Defendant.

23          16.       This Court has personal jurisdiction over HP because it is headquartered in the

24   State of California, regularly conducts business in this District and has extensive contacts with

25   this forum.

26          17.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because HP is

27   headquartered in this District and transacts substantial business here.

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 1                              COMMON FACTUAL ALLEGATIONS

 2          A.      HP’s All-in-One Printers
 3          18.     HP designs, develops, manufactures and sells personal computers, tablet

 4   computers, monitors, printers, workstations and accessories.

 5          19.     HP has long been an industry leader in the manufacture and sale of personal inkjet

 6   printing devices.    See https://www.statista.com/statistics/541347/worldwide-printer-market-

 7   vendor-shares/ (last visited Dec. 3, 2021).

 8          20.     The HP ink-jet All-in-One Printer models at issue in this class action lawsuit: (i)
 9   HP Deskjet 2755e; (ii) HP DeskJet 3755; (iii) HP DeskJet 4155e; (iv) HP ENVY 6055e; (v) HP
10   ENVY 6075; (vi) HP ENVY 6455e; (vii) HP ENVY Pro 6475; (viii) HP OfficeJet 250 Mobile;
11   (ix) HP OfficeJet Pro 7740 Wide Format and (x) HP OfficeJet Pro 8025, (xi) HP DeskJet 2622,
12   (xii) HP DeskJet 2655 (collectively defined herein as the “All-in-One Printers” or the
13   “Devices”). Each of these All-in-One Printers have the same software, which prohibits the
14   printer from operating as a scan or fax machine when it is low on ink or when the ink cartridge
15   is missing.
16          21.     HP’s All-in-One Printers are devices marketed and sold as having three core
17   functions: printing, copying and scanning (certain All-in-One Printers have an added fax
18   capability function that uses the same functionality as the scanner). https://www.hp.com/us-

19   en/shop/vwa/printers/prnttyp=InkJet;segm=Home,Small-Office;prnttyp=Multifunction-All-in-

20   One?orderBy=2 (last visited Dec. 3, 2021). Throughout its marketing and advertising (as

21   detailed below), HP promotes and promises that its All-in-One Printers provide scanning and

22   faxing as main features and functions. HP markets its All-in-One printers as “incredibly

23   convenient” and “exceptional values” “[b]ecause they are designed to fit within a typical home

24   office, use standard printer paper, and handle their own maintenance tasks.” Id. HP further

25   proclaims, without disclosing the fact that consumers cannot use the All-in-One Printers with

26   low ink, that “these [All-in-One] printers are convenient because you don’t have to buy a separate

27   device for each task.”

28          22.     At online retail websites, such as www.hp.com and www.amazon.com, HP
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 1   makes available for purchase numerous printers including many All-in-One printer options. For

 2   each of the inkjet All-in-One Printers available for sale online, HP allows consumers to click for

 3   more information including technical specifications.

 4          23.     For instance, HP advertises the HP ENVY 6455e All-in-One Printer (which it

 5   contends can print, copy, scan and send mobile fax) on the online retail Site amazon.com:

 6   https://www.amazon.com/HP-ENVY-6455e-Wireless-Printer/dp/B08XYRDKDV (last visited

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     December 8, 2021).
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            24.     In addition to statements and representations on the HP Site, HP states the
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     functionalities of the All-in-One Printers on the product packaging for each device. For example,
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     on the product packaging of the ENVY 6455e All-in-One Printer, HP represents on the box
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     that the device functions as a scanner:
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 1   HP makes the same representations for each of its All-in-One Printers available for sale and makes

 2   similar representations that its products have core features that include scanning and faxing.

 3          25.       For instance, HP’s DeskJet 4155e All-in-One Wireless Color Printer is identified

 4   on the Amazon site as the “#1 Best Seller” in the InkJet Computer Printers category.

 5   https://www.amazon.com/HP-DeskJet-4155e-Wireless-Printer/dp/B08XYRDSL7/ref=sr_1_6?cri

 6   d=26ONZAIIVY7X9&keywords=hp+all+in+one+printer&qid=1638547204&refinements=p_n_

 7   feature_five_browse-bin%3A10719423011%2Cp_89%3AHP&rnid=2528832011&s=office-elect

 8   ronics&sprefix=hp+all%2Caps%2C234&sr=1-6 (last visited December 3, 2021).
 9          26.       The listing for that printer on Amazon identifies the “KEY FEATURES – Print,

10   copy and scan in color, auto document feeder, mobile fax, mobile and wireless printing.” Further,

11   the images for the DeskJet 4155e All-in-One printer on Amazon do not disclose the printer does

12   not work when the ink is low:

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21          27.       At no point does HP disclose to consumers that in order to scan or to fax
22   documents, the ink cartridges (necessary for printing and copying) must not be depleted or
23   damaged.
24          B.      The All-in-One Printers Are Manufactured, Packaged, Marketed and Sold
                    With Scanning and Faxing Capabilities Which are Tied to the Availability of
25                  Ink in the Devices
26          28.       HP’s All-in-One Printers do not work as advertised. Ink is not a necessary
27   component to scan or to fax a document. However, the HP All-in-One Printers are manufactured,
28   packaged, marketed and sold to consumers in a manner which requires the devices to contain ink
                                                      7
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 1   in order to scan or to fax documents. Simply put, HP’s All-in-One Printer do not function as

 2   scanners or as fax machines if the devices have low, empty or damaged ink cartridges.

 3          29.      If consumers wish to use either of two of the main functions of the device, HP

 4   forces consumers to purchase ink cartridges whether or not they intend to use ink or want to print

 5   or to copy documents. As a result, consumers must incur unexpected and unnecessary burden and

 6   expense by purchasing ink cartridges or be deprived of several of the core functions of their

 7   supposedly All-in-One printing devices. HP fails to disclose to consumers that its All-in-One

 8   Printers have the same flaw.
 9          30.      HP has known for years that its representations and advertisements regarding the

10   All-in-One Printers being multifunction devices were false and misleading, and that it fails to

11   disclose material information to consumers. Indeed, the Printers have been designed to function

12   this way. In an October 2018 post on HP’s community website, a customer asked why their All-

13   in-One Printer would not scan with a damaged ink cartridge:

14          My black ink cartridge cacked tonight (screen on printer and warning on
15          computer saying it failed or was damaged) and I need to scan an important
            document. However, it's just saying I need to replace the cartridge and won't let
16          me go past that screen. Is there a way to scan without having to purchase a new
            cartridge?
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     https://h30434.www3.hp.com/t5/Scanning-Faxing-Copying/Scanning-without-a-working-ink-
18
     cartridge/td-p/6777739 (last visited Feb. 6, 2023). A HP’s employee responded that: “HP Printer
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     is designed in such a way that with the empty cartridge or without the cartridge printer will not
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     function.” Put differently, Defendant designed the All-in-One Printers so that the entire Printer
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     (including the scan and fax function) stops working if the Printer has an empty and missing
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     cartridge. Accordingly, at all times relevant, HP was not only aware that is All-in-One Printers
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     will not work as a scanner or fax machine without ink, it was designed that way: it was a feature
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     not a bug.
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            31.      Based on information and belief, the problem rests with HP’s software. Each of
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     the All-in-One Printers contains the same base software that causes the Printer to enter a “error
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     state” when it is low or out of ink, or when the ink cartridge is missing or damaged. This error
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 1   state prevents the All-in-One Printers from function until the error is cleared (i.e. a new ink

 2   cartridge is placed into the printer). Accordingly, as HP acknowledges, its printers are “designed

 3   in such a way that with the empty cartridge or without the cartridge printer will not function.”

 4   Accordingly, the fact that HP’s All-in-One Printers will not work as a scanner or fax machine

 5   without ink or an ink cartridge is inherent to the Printers, and this problem exists at the time of

 6   purchase.

 7           32.      Not all multifunction printers are designed, packaged, marketed and sold to

 8   consumers so that low or no ink causes a loss in scan or fax functionality. Indeed, it is well-
 9   documented that ink is not required in order to scan or to fax a document, and it is certainly possible
10   to manufacture an All-in-One printer that scans or faxes when the device is out of ink.
11   Accordingly, Defendant made a conscious choice in designing and programing is All-in-One
12   Printers.
13           33.      HP’s false, misleading and deceptive representations and omissions were and are

14   likely to mislead a reasonable consumer acting reasonably under the circumstances.

15           C.      HP’s Design of its All-In-One Ink Jet Printers Is Intended to Increase Ink
                     Sales
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             34.      There is no legitimate purpose for selling the All-In-One Printers with scanning or
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     faxing functionality that is directly tied to the existence or level of ink contained in the devices.
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     Ink is not needed for scanning or faxing functionality nor does ink improve scanning or faxing
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     performance. Tying the scan or fax capabilities of the All-In-One Printers to ink contained in the
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     devices offers no benefit, and only serves to disadvantage and harm consumers financially.
21
     However, tying the scan or fax capabilities of the All-In-One Printers to ink contained in thedevices
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     does, however, serve to benefit HP.
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             35.      HP derives substantial profits from the sale of HP printer ink cartridges. Ink
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     cartridges for the All-in-One Printers retail for approximately $30. The costs of ink for the All-in-
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     One Printers is not trivial or fleeting as “[t]he industry figured out years ago that once people buy
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     a printer they are committed to it, so you can sell the printer at or below cost knowing they will
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     buy the cartridges.” Charles LeCompte as quoted in Printer ink: Tired of feeding the cash cow?,
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 1   Lamont           Wood,      COMPUTERWORLD              (Mar     28,    2012      6:00    am      PST),

 2   https://www.computerworld.com/article/2503134/printer-ink--tired-of-feeding-the-cash-cow-

 3   .html (last visited Dec. 3, 2021); see also Jack Houston and Irene Anna Kim, Why printer ink is

 4   so expensive, INSIDER (Updated Mar 2, 2021, 12:09 PM) https://www.businessinsider.com/why-

 5   printer-ink-so-expensive-2019-8 (“companies do everything they can to keep you buying official

 6   ink cartridges”) (last visited on Dec. 6, 2021).

 7             36.         According to a 2018 Consumer Reports article, inkjet printers are being sold at a

 8   low cost, with the expectation that companies would make their profit through sales of the ink
 9   cartridges needed for the functioning of the machines. Tercius Bufete, Why Is Printer Ink So

10   Expensive?, CONSUMER REPORTS (September 15, 2018) https://www.consumerreports.org

11   /printers/why-is-printer-ink-so-expensive-a2101590 645/ (last Dec. 3, 2021). “Most printers are

12   sold at a loss. A manufacturer makes money NOT by selling consumers an inkjet or laser printer,

13   but by selling the supplies needed to print.” Why Are Printer Ink and Toner Cartridges So

14   Expensive?, TONERBUZZ https://www.tonerbuzz.com/blog/why- is-printer-ink-so-expensive/

15   (last visited on Dec. 3, 2021).

16             37.         Wing Lam, an associate director of cost benchmarking at IHS Markit stated that

17   “[t]his is a classic razor-and-blade business model where the manufacturer sellsthe goods at a low

18   price to help increase the sales of accessories, where the money is made.” Tercius Bufete, Why Is

19   Printer         Ink   So    Expensive?,    CONSUMER           REPORTS      (September     15,    2018)

20   https://www.consumerreports.org/printers/why-is-printer-ink-so-expensive-a210159 0645/ (last

21   visited Dec. 3, 2021).

22             38.         There is no reason or technical basis for manufacturing the All-in-One Printers

23   with an ink level detection function that causes the scanner to stop functioning when ink is low or

24   empty. HP designed the All-in-One Printers in such a way to require consumers to maintain ink in

25   their devices regardless of whether they intend to print. The result is an increase in ink sales from

26   which HP derives significant profits. This forces consumers to incur the unexpected and

27   unnecessary burden andexpense of additional and superfluous ink purchases or be unable to scan

28   or fax documents using the so-called all-in-one device.
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 1          39.       Defendant could easily change is software, or ofter a sof

 2                      EXPERIENCE OF REPRESENTATIVE PLAINTIFFS
 3   Plaintiff Gary Freund
 4          40.       In or about July 30, 2021, Plaintiff Freund purchased an HP Envy 6455e All-in-

 5   One Wireless Color Printer from an www.amazon.com.

 6          41.       Plaintiff Freund purchased the HP Envy 6455e All-in-One Wireless Color Printer

 7   to use for its advertised scanning purposes.

 8          42.       HP made explicit representations that the HP Envy 6455e All-in-One Wireless
 9   Color Printer would be able to scan and did not include any qualifying language that such features

10   would not work if the ink cartridge levels were low or depleted:

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19          43.       Further, the images for the HP Envy 6455e All-in-One Wireless Color Printer on
20   Amazon advertise the scan function but do not disclose that it will not scan when the ink is low or
21   depleted, or if the ink cartridge is damaged or missing:
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            44.     The box packaging containing the HP Envy 6455e All-in-One Wireless Color
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     Printer advertises the same explicit representations that the device would be able to “scan” and
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     likewise did not include any qualifying language that such features would not work if the ink
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     cartridge levels were low or depleted:
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15          45.       After purchasing and using the device, Plaintiff Freund discovered that the device
16   did not function as a scanner if the ink cartridges are low or empty.
17          46.       Plaintiff Freund suffered injury and was damaged as a result of HP’s conduct.
18          47.       Plaintiff Freund would not have purchased the device or would not have paid as
19   much for it had he known that he would have to maintain ink in the device in order to scan
20   documents.
21          48.       Plaintiff Freund may purchase a HP All-in-One Printer again in the future should
22   HP continue to advertise a product as all-in-one as he would think it meant HP fixed the issue.
23   Plaintiff Wayne McMath
24          49.       In or about September 2019, Plaintiff McMath purchased an HP Deskjet 2655
25   All-in-One Compact Printer from an online retailer.
26          50.       Plaintiff McMath purchased the HP Deskjet 2655 All-in-One Compact Printer to
27   use for its advertised scanning purposes.
28          51.       HP made explicit representations that the device would be able to scan and did
                                                      13
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 1   not include any qualifying language that such features would not work if the ink cartridge levels

 2   were low or depleted:

 3                •   Main functions of this HP compact color printer: print, scan, copy, wireless

 4                    printing, AirPrint, Instant Ink ready so you'll never run out of ink, and more

 5                •   Print, copy, and scan while saving money and space with a wireless all-in-one

 6                    printer.

 7                •   The power of your printer in the palm of your hand: The HP Smart app allows you

 8                    to   easily    set   up    your        printer,   scan   from   your    smartphone.
 9                    https://www.amazon.com/HP-DeskJet-2655-Compact-Replenishment/dp/B06XH
10                    XWB7B (last visited Dec. 6, 2021) (highlighting added).
11          52.        Further, the images for the HP Deskjet 2655 All-in-One Compact Printer online

12   do not do not disclose that it will not scan when the ink is low or depleted, or if the ink cartridge

13   is damaged or missing:

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 1          53.       The box packaging containing the HP Deskjet 2655 All-in-One Compact Printer

 2   advertises the same explicit representations that the device would be able to “scan” and likewise

 3   did not include any qualifying language that such features would not work if the ink cartridge

 4   levels were low or depleted:

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18          54.       After purchasing and using the device, Plaintiff McMath discovered that the

19   device did not function as a scanner if the ink cartridges are low or empty.

20          55.       Plaintiff McMath suffered injury and was damaged as a result of HP’s conduct.

21          56.       Plaintiff McMath would not have purchased the device or would not have paid as

22   much for it had he known that he would have to maintain ink in the device in order to scan

23   documents.

24          57.       Plaintiff McMath may purchase a HP All-in-One Printer again in the future should

25   HP continue to advertise a product as all-in-one as he would think it meant HP fixed the issue.

26                                  CLASS ACTION ALLEGATIONS

27          58.      Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

28   Procedure, individually and on behalf of the following Nationwide Class:
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 1          All persons who purchased a HP All-in-One Printer, in the United States, for
            personal/household use, at any time within the applicable statute of limitations
 2          (the “Nationwide Class”).
 3          59.      Plaintiff Freund brings this action individually and on behalf of the following

 4   California subclass:

 5          All persons residing in California who purchased a HP All-in-One Printer for
            personal/household use, at any time within the applicable statute of limitations (the
 6          “California subclass”).
 7          60.      Plaintiff McMath brings this action individually and on behalf of the following
 8   Minnesota subclass:
 9          All persons residing in Minnesota who purchased a HP All-in-One Printer for
            personal/household use, at any time within the applicable statute of limitations (the
10          “Minnesota subclass”).
11          61.      Specifically excluded from the Classes are HP, its officers, directors, agents,

12   trustees, representatives, employees, principals, servants, partners, joint venturers or entities

13   controlled by HP, and their heirs, successors, assigns, or other persons or entities related to or

14   affiliated with HP and/or its officers and/or directors, the judge assigned to this action and any

15   member of the judge’s immediate family.

16          62.      Plaintiff reserves the right to amend the Class definitions above if further

17   investigation and/or discovery reveals that the Classes should be expanded, narrowed, divided into

18   subclasses or otherwise modified in any way.

19          63.      Numerosity: Federal Rule of Civil Procedure 23(a)(1). The members of the

20   Classes are so numerous and geographically dispersed that individual joinder of all class members

21   is impracticable.      Plaintiffs are informed and believes—based upon the publicly-available

22   information discussed herein—that there are millions of class members, making joinder

23   impracticable. Those individuals’ identities are available through HP’s records and class members

24   may be notified of the pendency of this action by recognized, Court-approved notice dissemination

25   methods.

26          64.      Commonality and Predominance: Federal Rules of Civil Procedure 23(a)(2)

27   & 23(b)(3). HP has acted with respect to Plaintiffs and the other members of the proposed Classes

28   in a manner generally applicable to each of them. There is a well-defined community of interest
                                                      16
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 1   in the questions of law and fact involved, which affect all class members. The questions of law

 2   and fact common to the Classes predominate over the questions that may affect individual class

 3   members include the following:

 4                   a.        Whether HP intentionally designed its All-in-One Printers so that the

 5                             scanning and faxing functionality was disabled if the devices were low or

 6                             out of ink;

 7                   b.        Whether HP disclosed to consumers that its All-in-One Printers would not

 8                             scan nor fax if the devices were low or out of ink;
 9                   d.        Whether the fact that the All-in-One Printers would not scan nor fax if the
10                             devices were low or out of ink was material to reasonable consumers;
11                   e.        Whether the omission that the All-in-One Printers would not scan nor fax if
12                             the devices were low or out of ink was deceptive to reasonable consumers;
13                   f.        Whether HP All-in-One Printers function as a scanner with low or empty
14                             ink and
15                   g.        The nature of relief, including damages and equitable relief, to which
16                             Plaintiffs and members of the Classes are entitled.
17          65.           Typicality: Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are

18   typical of other class members’ claims because Plaintiffs and class members were subjected to the

19   same allegedly unlawful conduct and damaged in the same way.

20          66.           Adequacy of Representation: Federal Rule of Civil Procedure 23(a)(4).

21   Plaintiffs are adequate class representatives because their interests do no conflict with the interests

22   of class members whom they seek to represent, Plaintiffs have retained counsel competent and

23   experienced in complex class action litigation, and Plaintiffs intend to prosecute this action

24   vigorously. The class members’ interests will be fairly and adequately protected by Plaintiffs and

25   counsel.

26          67.           Declaratory and Injunctive Relief: Federal Rule of Civil Procedure 23(b)(2).

27   The prosecution of separate actions by individual class members would create a risk of inconsistent

28   or varying adjudications with respect to individual class members that would establish
                                                        17
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 1   incompatible standards of conduct for HP. Such individual actions would create a risk of

 2   adjudication that would be dispositive of the interests of other class members and impair their

 3   interests. HP has acted and/or refused to act on grounds generally applicable to the Classes,

 4   making injunctive relief or corresponding declaratory relief appropriate.

 5          68.       Superiority: Federal Rule of Civil Procedure 23(b)(3). A class action is

 6   superior to any other available means for the fair and efficient adjudication of this controversy,

 7   and no unusual difficulties are likely to be encountered in the management of this class action.

 8   The damages or other financial detriment suffered by Plaintiffs and class members are relatively
 9   small compared to the burden and expense that would be required to individually litigate their

10   claims against HP, so it would be impracticable for class members to individually seek redress for

11   HP’s wrongful conduct. Even if class members could afford litigation, the court system could not.

12   Individualized litigation creates a potential for inconsistent and or contradictory judgments and

13   increases the delay and expense to all parties and the court system. By contrast, the class action

14   device presents far fewer management difficulties and provides the benefits of single adjudication,

15   economies of scale, and comprehensive supervision by a single court.

16          69.       Plaintiffs know of no difficulty which will be encountered in the management of

17   this litigation which would preclude its maintenance as a class action.

18                                         CAUSES OF ACTION

19                                              COUNT I
                                     FRAUDULENT OMISSION
20                           (On behalf of Plaintiffs & the Nationwide Class)
21          70.       Plaintiffs reincorporate and re-allege each preceding paragraph herein and bring

22   this claim on behalf of the Nationwide Class.

23          71.       HP intentionally omitted certain material facts regarding its All-in-One Printers.

24          72.       Specifically, HP failed to warn consumers that its All-in-One Printers will disable

25   the scanning and faxing functionality if the device is low or out of ink, despite the fact that ink is

26   not required to perform either function.

27          73.       Had HP disclosed these issues, rather than falsely advertising the convenience and

28   functionality of the All-in-One Printers, consumers would not have purchased or, alternatively,
                                                      18
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 1   would have paid significantly less for the devices.

 2           74.       The advertisements, which were made expressly through uniform representations

 3   from HP were material and would have been considered by a reasonable consumer in making

 4   purchasing decisions.

 5           75.       Plaintiffs and Nationwide Class members acquired the All-in-One Printers

 6   believing they would function as advertised.

 7           76.       As a result, Plaintiffs and class members were directly and proximately injured

 8   by HP’s failure to inform Plaintiffs and Nationwide Class members of the All-in-One Printers will
 9   disable the scanning and faxing functionality if the device is low or out of ink despite the fact that

10   ink is not required to perform either function.

11                                              COUNT II
                              California’s Consumer Legal Remedies Act
12                              Cal. Civ. Code § 1750 et seq. (“CLRA”)
                    (On Behalf of Plaintiff Freund and California Subclass Members)
13
             77.     Plaintiff Freund repeats and realleges the allegations in the previous paragraphs as
14
     if fully set forth herein.
15
             78.     The CLRA prohibits deceptive practices in connection with the conduct of a
16
     business that provides goods, property, or services primarily for personal, family, or household
17
     purposes.
18
             79.       HP intentionally omitted certain material facts regarding its All-in-One Printers.
19
             80.       Specifically, HP failed to warn consumers that its All-in-One Printers will disable
20
     the scanning and faxing functionality if the device is low or out of ink despite the fact that ink is
21
     not required to perform either function.
22
             81.     HP’s false and misleading advertising and other policies, acts, and practices were
23
     designed to, and did, induce the purchase and use of the All-in-One Printers for personal, family,
24
     or household purposes by Plaintiff Freund and California Subclass Members, and violated and
25
     continue to violate the following sections of the CLRA:
26
                       a. § 1770(a)(5): representing that goods have characteristics, uses, or
27
      benefits which they do not have;
28
                                                       19
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 1                    b. § 1770(a)(7): representing that goods are of a particular standard,

 2    quality, or grade if they are of another;

 3                    c. § 1770(a)(9): advertising goods with intent not to sell them as

 4    advertised; and

 5                    d. § 1770(a)(16): representing the subject of a transaction has been

 6    supplied in accordance with a previous representation when it has not.

 7          82.      Defendant profited from the sale of the falsely, deceptively, and unlawfully

 8   advertised All-in-One Printers to unwary consumers.
 9          83.      Defendant’s wrongful business practices constituted, and constitute, a continuing
10   course of conduct in violation of the CLRA.
11          84.      Pursuant to the provisions of Cal. Civ. Code § 1782(a), Plaintiff Freund provided a
12   letter to Defendant noticing its alleged violations of the CLRA, demanding that Defendant correct
13   such violations, and providing it with the opportunity to correct its business practices. Defendant
14   did not respond to the letter within the period required, accordingly Plaintiff Freund seeks
15   monetary relief, including restitution and actual and punitive damages under the Consumers Legal
16   Remedies Act. Pursuant to California Civil Code §1780, Plaintiff Freund further seeks injunctive
17   relief, her reasonable attorney fees and costs, and any other relief that the Court deems proper.
18                                             COUNT III
                  VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW,
19                               Cal. Bus. & Prof. Code § 17200, et seq.
                    (On behalf of Plaintiff Freund and California Subclass Members)
20
            85.         Plaintiff Freund reincorporate and reallege each preceding paragraph herein and
21
     brings this claim on behalf himself and the California Subclass.
22
            86.         HP is a “person[]” as defined by Cal. Bus. & Prof. Code § 17201.
23
            87.         HP violated Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”) by engaging in
24
     unlawful, unfair, and deceptive business acts and practices.
25
            88.         Defendant’s conduct is “Fraudulent” as Defendant’s misrepresentation of the
26
     functionality of its All-in-Printers likely to mislead reasonable consumers. Specifically, Defendant
27
     actively conceals a material fact from consumers and makes partial representations, suppressing
28
                                                      20
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 1   material facts as alleged herein.

 2          89.       Specifically, HP failed to warn consumers that its All-in-One Printers will disable

 3   the scanning and faxing functionality if the device is low or out of ink despite the fact that ink is

 4   not required to perform either function.

 5          90.       Defendant’s “unfair” acts and practices include:

 6                  a.      Knowingly designing, developing, manufacturing, advertising and selling

 7                          All-in-Printers to not be operational without ink or with low ink;

 8                  b.      Concealing material information from consumers regarding their All-in-
 9                          One Printers require ink to use the scan and fax functions;
10                  c.      Using uniform, deceptive business practices causing consumers to spend
11                          additional money to secure additional ink cartridges in order to get their
12                          devices to work.
13          91.       HP’s conduct with respect to the labeling, advertising, and sale of All-in-Printers

14   is also unfair because it violates public policy as described below.

15          92.       HP has engaged in “unlawful” business practices by violating multiple laws

16   including Cal. Bus. & Prof. Code §§ 17500, et seq., and California common law.

17          93.       HP’s unlawful, unfair, and deceptive acts and practices include:

18                  a.      Knowingly designing, developing, manufacturing, advertising and selling

19                          All-in-Printers with significant Design Flaws that result in the devices not

20                          operating as intended, represented or advertised under normal usage;

21                  b.      Concealing material information from consumers regarding their All-in-

22                          One Printers require ink to use the scan and fax functions; and

23                  c.      Using uniform, deceptive business practices requiring consumers to spend

24                          additional money to secure additional ink cartridges in order to get their

25                          devices to work.

26          94.       HP violated § 17200’s prohibition against engaging in unlawful acts and practices

27   by engaging in false and misleading advertising by omitting material facts from purchasers of their

28   Devices.
                                                      21
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 1          95.       This conduct is substantially injurious to consumers, offends public policy, is

 2   immoral, unethical, oppressive and unscrupulous as the severity of the conduct—advertising All-

 3   in-One printers as convenient and capable of scanning and faxing (among other things) but not

 4   disclosing that the devices will not scan or fax without ink—outweighs any alleged benefit.

 5          96.       HP engaged in this conduct to gain an unfair commercial advantage over its

 6   competitors. Defendant withheld critical and material information from Plaintiff Freund and

 7   California Subclass Members, competitors and the marketplace, all to their unfair competitive

 8   advantage. Thus, consumers are not able to avoid the injury described herein.
 9          97.       As a direct and proximate result of HP’s unfair, unlawful and fraudulent acts and

10   practices, Plaintiff Freund and California Subclass Members were injured and lost money or

11   property, including from not receiving the benefit of their bargain in purchasing the devices, and

12   increased time and expense in dealing with the devices’ performance issues.

13          98.       Plaintiff and the California Subclass do not have an adequate remedy at law

14   because damages alone will not stop Defendant’s unlawful omissions. Damages will only address

15   past injuries visited on Plaintiff and the California Subclass. Only injunctive relief can prevent any

16   future harm. For example, Defendant can remedy the software issue that prevents consumers from

17   using the scan and fax functions when an ink cartridge is low, missing or damaged. Alternatively,

18   Defendant should be required to disclose the fact that the scan and fax does not function when an

19   ink cartridge is low, missing or damaged.

20          99.       Additionally, Plaintiff seeks restitution if monetary damages are not available.

21   Indeed, restitution under the UCL can be awarded in situations where the entitlement to damages

22   may prove difficult. Cortez v. Purolator Air Filtration Products Co., 23 Cal.4th 163, 177 (2000)

23   (Restitution under the UCL can be awarded “even absent individualized proof that the claimant

24   lacked knowledge of the overcharge when the transaction occurred.”); Gutierrez v. Wells Fargo

25   Bank, NA, 589 F. App’x 824, 827 (9th Cir. 2014) (same); Caro v. Procter & Gamble Co., 18 Cal.

26   App. 4th 644, 661 (1993) (“In a suit arising under Business and Professions Code section 17200

27   et seq., the court ‘is empowered to grant equitable relief, including restitution in favor of absent

28   persons, without certifying a class action.’”).
                                                       22
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 1             100.   But even if damages were available, such relief would not be adequate to address

 2   the injury suffered by Plaintiff and the California Subclass. Unlike damages, the Court’s discretion

 3   in fashioning equitable relief is very broad. Cortez, 23 Cal.4th at 180. Thus, restitution would allow

 4   recovery even when normal consideration associated with damages would not. See, e.g., Fladeboe

 5   v. Am. Isuzu Motors Inc., 150 Cal. App. 4th 42, 68 (2007), as modified (Apr. 24, 2007) (noting

 6   that restitution is available even in situations where damages may not be available).

 7             101.   Plaintiff Freund and California Subclass Members seek all monetary and non-

 8   monetary relief allowed by law, including restitution stemming from HP’s unfair, unlawful and
 9   fraudulent business practices; declaratory relief; reasonable attorneys’ fees and costs under

10   California Code of Civil Procedure § 1021.5; injunctive relief and other appropriate equitable

11   relief.
                                        COUNT IV
12                         VIOLATIONS OF CALIFORNIA’S FALSE
                  ADVERTISING LAW, CAL. BUS. & PROF. CODE § 17500, ET SEQ.
13             (ON BEHALF OF PLAINTIFF FREUND & THE CALIFORNIA SUBCLASS)
14             102.   Plaintiff Freund reincorporates and realleges each preceding paragraph herein and

15   brings this claim on behalf themselves and the California Subclass.

16             103.   By its actions and omissions as set forth herein, HP disseminated uniform

17   advertising regarding the All-in-One Printers into California.

18             104.   The advertising was, by its very nature, unfair, deceptive, untrue and misleading

19   within the meaning of Cal. Bus. & Prof. Code § 17500, et seq.

20             105.   Such advertisements were intended to and likely did deceive the consuming

21   public for the reasons detailed herein.

22             106.   The above-described false, misleading and deceptive advertising HP

23   disseminated continues to have a likelihood to deceive in that HP failed to disclose the fact that its

24   All-in-One printers will disable the scanning and faxing functionality if the device is low or out of

25   ink despite the fact that ink is not required to perform either function.

26             107.   Had HP disclosed these issues, rather than falsely advertising the convenience and

27   functionality of the All-in-One printers, consumers would not have purchased or, alternatively,

28   paid significantly less for the devices.
                                                      23
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 1           108.     In making and disseminating the statements alleged herein, HP knew, or should

 2   have known, its advertisements were untrue and misleading in violation of California law.

 3           109.     Plaintiff Freund and California Subclass Members based their purchasing

 4   decisions on HP’s omission of certain material facts.

 5           110.     The revenue attributable to products sold in those false and misleading

 6   advertisements likely amounts to hundreds of millions of dollars.

 7           111.     Plaintiff Freund and California Subclass Members were injured in fact and lost

 8   money and property as a result.
 9           112.     The omission by Defendant of the material facts described and details herein

10   constitute false and misleading advertising and, therefore, constitute violations of Cal. Bus. & Prof.

11   Code § 17500, et seq.

12           113.     Plaintiff and the California Subclass do not have an adequate remedy at law

13   because damages alone will not stop Defendant’s unlawful omissions. Damages will only address

14   past injuries visited on Plaintiff and the California Subclass. Only injunctive relief can prevent any

15   future harm. For example, Defendant can remedy the software issue that prevents consumers from

16   using the scan and fax functions when an ink cartridge is low, missing or damaged. Alternatively,

17   Defendant should be required to disclose the fact that the scan and fax does not function when an

18   ink cartridge is low, missing or damaged.

19           114.     Additionally, Plaintiff seeks restitution if monetary damages are not available.

20   Indeed, restitution under the FAL can be awarded in situations where the entitlement to damages

21   may prove difficult. Cortez, 23 Cal.4th at 177 (Restitution under the UCL can be awarded “even

22   absent individualized proof that the claimant lacked knowledge of the overcharge when the

23   transaction occurred.”); Gutierrez, 589 F. App’x at 827 (same); Caro, 18 Cal. App. 4th at 661 (“In

24   a suit arising under Business and Professions Code section 17200 et seq., the court ‘is empowered

25   to grant equitable relief, including restitution in favor of absent persons, without certifying a class

26   action.’”).

27           115.     But even if damages were available, such relief would not be adequate to address

28   the injury suffered by Plaintiff and the California Subclass. Unlike damages, the Court’s discretion
                                                       24
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 1   in fashioning equitable relief is very broad. Cortez, 23 Cal.4th at 180. Thus, restitution would allow

 2   recovery even when normal consideration associated with damages would not. See, e.g., Fladeboe,

 3   150 Cal. App. 4th at 68 (2007) (noting that restitution is available even in situations where damages

 4   may not be available).

 5          116.      Plaintiff Freund and California Subclass Members seek all monetary and non-

 6   monetary relief allowed by law, including restitution of all profits stemming from Defendant’s

 7   unfair, unlawful, and fraudulent business practices; declaratory relief; reasonable attorneys’ fees

 8   and costs under California Code of Civil Procedure § 1021.5; injunctive relief and other
 9   appropriate equitable relief.

10                                        COUNT V
           VIOLATIONS OF MINNESOTA’S DECEPTIVE TRADE PRACTICES ACT,
11                                Minn. Stat. § 325D.44, et seq.
               (On behalf of Plaintiff McMath and Minnesota Subclass Members)
12
            117.      Plaintiff McMath reincorporate and reallege each preceding paragraph herein and
13
     brings this claim on behalf himself and the Minnesota Subclass.
14
            118.      Defendant intentionally concealed the material fact that the scan and fax functions
15
     on the All-in-One Printers does not work when an ink cartridge is low, missing or damaged.
16
            119.      The following are ways in which Defendant violated Minn. Stat. § 325D.44 :
17
                    a.        Knowingly designing, developing, manufacturing, advertising and selling
18
                              Knowingly designing, developing, manufacturing, advertising and selling
19
                              All-in-Printers to not be operational without ink or with low ink;
20
                    b.        Concealing material information from consumers regarding their All-in-
21
                              One Printers require ink to use the scan and fax functions;
22
                    c.        Using uniform, deceptive business practices causing consumers to spend
23
                              additional money to secure additional ink cartridges in order to get their
24
                              devices to work.
25
            120.      The Minnesota statutes prohibiting unfair and deceptive trade practices apply
26
     because Defendant's deceptive scheme was carried out in Minnesota and affected Plaintiff McMath
27
     and the Minnesota Subclass who purchased All-in-One Printers which would not work as a fax
28
                                                       25
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 1   machine or scanner with a low, missing, or damaged ink cartridge.

 2          121.      HP engaged in this conduct to gain an unfair commercial advantage over its

 3   competitors. Defendant withheld critical and material information from Plaintiff McMath and the

 4   Minnesota Subclass Members, competitors and the marketplace, all to their unfair competitive

 5   advantage.

 6          122.      As a direct and proximate result of HP’s unfair, unlawful and fraudulent acts and

 7   practices, Plaintiff McMath and the Minnesota Subclass Members were injured and lost money or

 8   property, including from not receiving the benefit of their bargain in purchasing the devices, and
 9   increased time and expense in dealing with the devices’ performance issues.

10          123.      Plaintiff McMath and the Minnesota Subclass Members seek all monetary and

11   non-monetary relief allowed by law, including restitution and all profits stemming from HP’s

12   unfair, unlawful and fraudulent business practices; declaratory relief; reasonable attorneys’ fees

13   and costs; injunctive relief and other appropriate equitable relief.

14                                   COUNT VI
                VIOLATIONS OF MINNESOTA’S FALSE ADVERTISING LAW,
15                          MINN. STAT. § 325F.67, ET SEQ.
           (ON BEHALF OF PLAINTIFF MCMATH & THE MINNESOTA SUBCLASS)
16
            124.      Plaintiff McMath reincorporates and realleges each preceding paragraph herein
17
     and brings this claim on behalf themselves and the Minnesota Subclass.
18
            125.      By its omissions as set forth herein, HP disseminated uniform advertising
19
     regarding the All-in-One Printers into Minnesota.
20
            126.      The advertising was, by its very nature, unfair, deceptive, untrue and misleading
21
     within the meaning of Minn. Stat. § 325F.67, et seq.
22
            127.      Such advertisements were intended to and likely did deceive the consuming
23
     public for the reasons detailed herein.
24
            128.      The above-described false, misleading and deceptive advertising HP
25
     disseminated continues to have a likelihood to deceive in that HP failed to disclose that its All-in-
26
     One Printers will disable the scanning and faxing functionality if the device is low or out of ink
27
     despite the fact that ink is not required to perform either function.
28
                                                       26
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 1          129.      Had HP disclosed these issues, rather than falsely advertising the convenience and

 2   functionality of the All-in-One printers, consumers would not have purchased or, alternatively,

 3   paid significantly less for the devices.

 4          130.      In making and disseminating the statements alleged herein, HP knew, or should

 5   have known, its advertisements were untrue and misleading in violation of Minnesota law.

 6          131.      Plaintiff McMath and Minnesota Subclass Members based their purchasing

 7   decisions on HP’s omission of certain material facts.

 8          132.      The revenue attributable to products sold in those false and misleading
 9   advertisements likely amounts to hundreds of millions of dollars.

10          133.      Plaintiff McMath and Minnesota Subclass Members were injured in fact and lost

11   money and property as a result.

12          134.      The misrepresentations and non-disclosures by Defendant of the material facts

13   described and details herein constitute false and misleading advertising and, therefore, constitute

14   violations of Minn. Stat. § 325F.67, et seq.

15          135.      As a result of Defendant’s wrongful conduct, Plaintiff McMath and Minnesota

16   Subclass Members lost money in an amount to be proven at trial. Plaintiff McMath and Minnesota

17   Subclass Members are therefore entitled to restitution as appropriate for this cause of action.

18          136.      Plaintiff McMath and Minnesota Subclass Members seek all monetary and non-

19   monetary relief allowed by law, including restitution of all profits stemming from Defendant’s

20   unfair, unlawful, and fraudulent business practices; declaratory relief; reasonable attorneys’ fees

21   and costs; injunctive relief and other appropriate equitable relief.

22                                        PRAYER FOR RELIEF

23          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

24   request that this Court enter judgment against HP, Inc. d/b/a HP Computing and Printing Inc. and

25   in favor of Plaintiffs and the Class and Subclasses, and award the following relief:

26                  a.      Certifying this action as a class action pursuant to Rule 23 of the Federal

27          Rules of Civil Procedure, declaring Plaintiffs as representatives of the Nationwide Class

28          and Subclasses, and Plaintiffs’ counsel as counsel for the Nationwide Class and Subclasses;
                                                      27
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 1                     b.     Awarding declaratory relief and enjoining HP from continuing the

 2           unlawful, deceptive, fraudulent, harmful, and unfair business conduct and practices alleged

 3           herein;

 4                     c.     Ordering HP to pay actual, compensatory, and statutory damages (including

 5           punitive damages) or, in the alternative, restitution to Plaintiffs and the other class

 6           members, as allowable by law;

 7                     d.     Order HP to pay both pre-and post-judgment interest on any amounts

 8           awarded;
 9                     e.     Ordering HP to pay attorneys’ fees and cost of suit and
10                     f.     Ordering such other and further relief as may be just and proper.
11                                         JURY TRIAL DEMANDED

12           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any

13   and all issues in this action so triable as of right.

14

15   Dated: February 10, 2023                           Respectfully submitted,

16
                                                        /s/ Trenton R. Kashima
17                                                      Trenton R. Kashima (SBN 291405)
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18                                                      PHILLIPS GROSSMAN PLLC
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     FIRST CLASS ACTION COMPLAINT                                             Case No.: 22-cv-03794-BLF
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 6                                      Attorneys for Plaintiffs and the Class

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     FIRST CLASS ACTION COMPLAINT                              Case No.: 22-cv-03794-BLF
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 1                            AFFIDAVIT OF TRENTON R. KASHIMA

 2          I, Trenton Kashima, declare as follows:

 3          1.      I am an attorney duly licensed and entitled to practice law in the state of California.

 4   I am an attorney of the law firm Milberg Coleman Bryson Phillips Grossman PLLC, attorneys for

 5   Plaintiffs in above-captioned action. I have personal knowledge of the facts stated herein, and if

 6   called to do so, could and would competently testify thereto.

 7          2.      Based on information from Defendant’s website and the California Secretary of

 8   State, Defendant Defendant HP, Inc. d/b/a HP Computing and Printing Inc. resides, has its
 9   principal place of business, is registered to do business and/or is in-fact doing business at Palo
10   Alto, California, located within the County of Santa Clara County.
11          3.      Accordingly, pursuant to California Code of Civil Procedure, section 1780, the
12   United States District Court for the Northern District of California is the proper venue for
13   Plaintiff’s California Consumer Legal Remedies Act claims because the Court’s jurisdiction
14   includes Santa Clara County, the principal place of business of Defendant.
15          I declare under penalty of perjury under the laws of the United States that the foregoing is
16   true and correct.
17          Executed on February 10, 2023 in San Diego, California.
18                                                                 /s/ Trenton Kashima
19                                                                   Trenton Kashima

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     FIRST CLASS ACTION COMPLAINT                                          Case No.: 22-cv-03794-BLF
